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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA, et al.,

                        Plaintiffs,
                                                    Case No. 1:20-cv-03010-APM
 v.
                                                    HON. AMIT P. MEHTA
 GOOGLE LLC,

                        Defendant.


 STATE OF COLORADO, et al.,

                        Plaintiffs,

 v.                                                 Case No. 1:20-cv-03715-APM

 GOOGLE LLC,                                        HON. AMIT P. MEHTA

                        Defendant.



                   REPLY IN SUPPORT OF ANTHROPIC PBC’S
             MOTION FOR LEAVE TO PARTICIPATE AS AMICUS CURIAE

       The Court should reject Plaintiffs’ arguments and grant Anthropic’s motion in full. Until

Plaintiffs chose to dramatically broaden their proposed remedy beyond the scope of the Court’s

liability ruling, this case had nothing to do with Anthropic—a fact Plaintiffs all but concede.

Now, Plaintiffs seek a remedy that would severely damage Anthropic and the generative

artificial intelligence (“AI”) marketplace, without Anthropic’s prior involvement or a chance to

present witnesses, declarations, or evidence. That is neither fair to Anthropic nor beneficial to the

Court’s decision-making. Plaintiffs’ objection to Anthropic’s modest request to submit up to two

declarations is unwarranted.
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       First, Anthropic’s motion is not, as Plaintiffs claim, a “de facto motion to intervene”

(Opp. 2). It is a narrowly tailored request for limited participation—far less intrusive than

intervention, which would grant full party rights. The Court already granted Apple the same

participation after denying its intervention motion, underscoring that Anthropic’s request is

distinct from, not tantamount to, intervention. While Anthropic could have justifiably sought

intervention given that Plaintiffs’ proposed remedy directly threatens Anthropic’s business and

contractual interests—interests no existing party adequately represents (Mot. 8–11)—it instead

opted for the least intrusive path, respecting the Court’s preference.

       Plaintiffs offer no valid reason why Anthropic should be denied the same limited rights as

Apple. They claim that Anthropic is “differently situated” from Apple (Opp. 2 n.1), but their

own reasoning only shows why Anthropic is more entitled to submit declarations, not less.

Unlike Apple, which has long been involved in this case and had multiple opportunities to

participate in discovery and present evidence to advocate for its interests, Anthropic was dragged

into this litigation at the eleventh hour due to Plaintiffs’ overreaching proposed final judgment

(“PFJ”). Due process demands that Anthropic at least be afforded the same participation rights as

Apple. See Ralls Corp. v. Comm. on Foreign Inv., 758 F.3d 296, 317–18 (D.C. Cir. 2014) (courts

must be “flexible” in providing the “procedural protections [that] the particular situation

demands” and should at minimum provide an individual or entity “an opportunity to rebut”

evidence offered to deprive it of a legally protected interest (quotation marks omitted)). To

prohibit Anthropic from submitting any fact witness declarations would deny it the right “to be

heard at a meaningful time and in a meaningful manner.” Mathews v. Eldridge, 424 U.S. 319,

333 (1976) (quotation marks omitted).




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       Second, Anthropic’s motion is timely. Plaintiffs’ claim that Anthropic’s motion “should

fail for the same reason Apple’s did: timeliness” (Opp. 2) is misplaced. This Court deemed

Apple’s motion untimely as a motion to intervene, but still granted the exact limited participation

rights Anthropic now seeks. Because Anthropic requests the same relief, including submitting up

to two fact witness declarations, Anthropic’s motion should be assessed under the lower

timeliness standard Apple met, not the higher bar Apple failed to clear. See Mot. 11.

       Regardless, Anthropic satisfies either standard. Unlike Apple, Anthropic had no reason to

know this case threatened its interests until Plaintiffs filed their PFJ on November 20, 2024.

Plaintiffs’ suggestion that Anthropic “was put on notice” by a single, parenthetical mention of AI

in their Remedies Framework is baseless (Opp. 2); that passing reference gave no indication that

Plaintiffs would seek the extreme divestiture remedy and bar on future investments outlined in

their PFJ. After reviewing the PFJ, Anthropic acted diligently—quickly assessing the case,

determining the necessary steps to protect its interests, and engaging directly with Plaintiffs in

the hope of resolving the issue without burdening the Court. See Mot. 7, 11–12. When such a

resolution was not forthcoming, Anthropic also carefully considered this Court’s ruling on

Apple’s motion to intervene and tailored its request accordingly. Given that Plaintiffs’ PFJ

blindsided Anthropic, the fact that Anthropic took just “10 days longer than Apple” to file its

motion (Opp. 3) only confirms Anthropic’s diligence.

       Third, the fact that Anthropic did not participate in discovery is precisely why it should

be allowed to submit fact witness declarations. Plaintiffs argue that Anthropic should be denied

that opportunity because, unlike Apple, it “has not had witnesses deposed, testified, or cross-

examined” (Opp. 3). This argument directly contradicts the Court’s reasoning and, if anything,

demonstrates why Anthropic should be permitted to submit declarations. Apple’s prior




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participation in discovery gave it multiple chances to present evidence, while Anthropic—

through no fault of its own—has had none. Yet the Court expressly contemplated that Apple’s

declarations can present testimony of witnesses who have not previously testified. See ECF

No. 1153 at 19 (“If Mr. Cue is called to testify at the evidentiary hearing, Apple may also submit

an affidavit from one additional fact witness that addresses facts not covered by Mr. Cue’s

testimony.”). The fact that Anthropic did not previously participate in discovery is a result of

Plaintiffs’ actions, not Anthropic’s. Having sought a remedy that would seriously harm

Anthropic’s interests without seeking discovery from Anthropic, Plaintiffs should not benefit

from that omission. The fact that Anthropic has had no opportunity to present evidence to

counter Plaintiffs’ attack on its legally protected interests makes Anthropic’s modest request all

the more reasonable.

       Fourth, Plaintiffs’ concerns about “sworn statements not subject to cross-examination”

(Opp. 4) are overblown, and any potential prejudice to them pales in comparison to the prejudice

Anthropic would face if it is barred from presenting evidence. Plaintiffs—not Anthropic—are

responsible for their failure to pursue discovery that would have allowed them to examine

Anthropic’s witnesses. Moreover, Plaintiffs’ hearsay objection is premature, as it remains

unclear what evidence will be presented at trial, whether Anthropic’s declarations will constitute

hearsay, and if so, whether they will fall within an exception to the hearsay bar, such as Federal

Rule of Evidence 807. See United States v. Slatten, 865 F.3d 767, 807 (D.C. Cir. 2017) (per

curiam) (Rule 807 allows courts to consider evidence that is both “very important and very

reliable” (quotation marks omitted)).

       Rather than addressing Plaintiffs’ premature objections now, the Court should grant

Anthropic’s motion in full to preserve flexibility. The Court may ultimately reject Plaintiffs’




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proposed remedy without relying on Anthropic’s declarations, eliminating any potential

prejudice. See United States v. Microsoft Corp., 253 F.3d 34, 101 (D.C. Cir. 2001) (per curiam)

(a district court conducting a bench trial has “wide latitude to receive evidence as it sees fit” and

will be presumed to have “ignored any inadmissible evidence”). If, however, the Court finds

contested facts in the declarations that are material to its decision, then it can address Plaintiffs’

objections based on a full record and, if necessary, allow cross-examination or take other

appropriate measures to mitigate potential prejudice to Plaintiffs.

        What the Court should not do is bar Anthropic from presenting critical evidence on the

propriety of Plaintiffs’ proposed remedy. The Court’s decree in this case may have far-reaching

consequences—not only for Anthropic, but also for competition across multiple markets and for

the United States’ ability to keep pace in the global AI race. The Court should ensure it has

access to all relevant evidence when crafting its decision, including the declarations Anthropic

seeks to submit.




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                                      CONCLUSION

      The Court should grant Anthropic’s motion in full.

Dated: March 7, 2025

                                                 Respectfully submitted,

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